   Case 1:18-cv-05391-SCJ   Document 443-1   Filed 06/29/20   Page 1 of 31




             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION




FAIR FIGHT ACTION, INC., et al.,

     Plaintiffs,

     v.

BRAD RAFFENSPERGER, et al.,
                                               Civ. Act. No. 18-cv-5391 (SCJ)
  Defendants.



  PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF THEIR
     MOTION TO EXCLUDE THE EXPERT TESTIMONY OF
                    SEAN P. TRENDE
      Case 1:18-cv-05391-SCJ               Document 443-1            Filed 06/29/20         Page 2 of 31




                                      TABLE OF CONTENTS

TABLE OF AUTHORITIES……………………………………………………. i

I.      INTRODUCTION…………………………………………………………. 1

II.     FACTUAL BACKGROUND……………………………………………... 2

        A. Long Lines Have A Disparate Impact on Black Georgians. ...............2

        B. Dr. Graves Verified and Confirmed the BPC/MIT Report. ...............4

        C. Mr. Sean Trende’s “Opinions” Do Not Address The Issues. ..............5

III. LEGAL STANDARD .....................................................................................5

IV. ARGUMENT ..................................................................................................6

        A. This Court Should Exclude Mr. Trende’s Testimony Because He Is
           Not Qualified to Rebut Dr. Graves’ Research Methodology. .............7

        B. This Court Should Exclude Mr. Trende’s Opinions Because He Has
           Not Reliably Applied His Methods to This Case. ...............................13

        C. This Court Should Exclude Mr. Trende’s Opinions Because It Will
           Not Assist This Court As The Trier of Fact. ......................................20

CONCLUSION.......................................................................................................22
      Case 1:18-cv-05391-SCJ                Document 443-1            Filed 06/29/20         Page 3 of 31




                                           Table of Authorities

                                                                                                          Page(s)

Federal Cases
In re Abilify Products Litig.,
    299 F. Supp. 3d 1291 (N.D. Fla. 2018) ..............................................................15

Allison v. McGhan Med. Corp.,
   184 F.3d 1300 (11th Cir. 1999) ............................................................................ 6
Coggon v. Fry’s Elecs., Inc.,
  No. 1:17-CV-03189, 2019 WL 2137465 (N.D. Ga. Feb. 6, 2019)....................... 6

Daubert v. Merrell Dow Pharms., Inc.,
  509 U.S. 579 (1993) ........................................................................................6, 20

Eastland v. Tenn. Valley Auth.,
  704 F.2d 613 (11th Cir. 1983) ......................................................................15, 16
United States v. Frazier,
  387 F.3d 1244 (11th Cir. 2004) ............................................................................7
Matrixx Initiatives, Inc. v. Siracusano,
  563 U.S. 27 (2011) ..............................................................................................15

McCorvey v. Baxter Healthcare Corp.,
  298 F.3d 1253 (11th Cir. 2002) ............................................................................ 6

Trilink Saw Chain, LLC v. Blount, Inc.,
   583 F. Supp. 2d 1293 (N.D. Ga. 2008) ................................................................. 7

Court Rules
Federal Rule of Evidence 702 ................................................................................5, 6




                                                         i
      Case 1:18-cv-05391-SCJ                   Document 443-1              Filed 06/29/20           Page 4 of 31




Record Citations
Plaintiffs’ Amended Complaint, ECF No. 41 ………………………………………….. 2
Graves Report 1, ECF No. 166 ..................................................................................4

Trende Report, ECF No. 195 .............................................................................12, 14

Other Authorities
About RealClearPolitics,
  https://www.realclearpolitics.com/about.html (last visited June 18,
  2020) ...................................................................................................................10

CCES Common Content Dataset, Harvard.edu CCES (2018),
  https://dataverse.harvard.edu/dataset.xhtml?persistentId=doi%3A1
  0.7910/DVN/ZSBZ7K ..........................................................................................3
Counterproductive, The Atlantic (June 17, 2020),
  https://www.theatlantic.com/ideas/archive/2020/06/getting-tough-
  protests-counterproductive/613090/ ...................................................................10
David Kaye & David Freeman, Reference Guide on Statistics in Reference Manual
  on Scientific Evidence 255-56 (3d ed. 2011)..................................................... 16
Digital Research & Education, What are the Differences Between
   One-Tailed and Two-Tailed Tests?,
   https://stats.idre.ucla.edu/other/mult-pkg/faq/general/faq-what-are-
   the-differences-between-one-tailed-and-two-tailed-tests/ (June 20,
   2020) .............................................................................................................16, 17

How Our Anti-American Education System Made Riots Inevitable,
  The Federalist (June 16, 2020),
  https://thefederalist.com/2020/06/16/how-our-anti-american-
  education-system-made-riots-inevitable/............................................................11
Hyun-Chul Cho & Shuzo Abe, Is Two-Tailed Testing for Directional
  Research Hypotheses Tests Legitimate?.............................................................20

National Review .........................................................................................................8



                                                             ii
      Case 1:18-cv-05391-SCJ                Document 443-1             Filed 06/29/20          Page 5 of 31




RealClear Politics Commentary (June 17, 2020),
  https://www.realclearpolitics.com/articles/2020/06/17/americas_ch
  oice_chicago_or_maga_country_143472.html...................................................11
RealClear, http://www.realclearmediagroup.com/about/ (last visited
  June 20, 2020) .................................................................................................9, 10
Science Editors, White Paper on Publication Ethics (2012) ..................................... 8

Steve Cortes, America’s Choice: Chicago or Maga Country .................................11

The Weekly Standard .................................................................................................8
Welcome to the ‘Great Awakening’, CNN Opinion (June 14, 2020),
  https://www.cnn.com/2020/06/12/opinions/great-awakening-
  empathy-solidarity-george-floyd-jones/index.html ............................................11




                                                       iii
    Case 1:18-cv-05391-SCJ        Document 443-1      Filed 06/29/20   Page 6 of 31




   I.      INTRODUCTION

        Plaintiffs will present evidence at trial that voters of color in Georgia

routinely face long lines at the polls, placing a disparate burden on their right to

vote. Besides offering evidence through the real-life experiences of Georgians,

Plaintiffs will provide expert testimony that Black voters face disproportionately

long wait times to vote. A 2019 nationwide report from the Bipartisan Policy

Center and the Massachusetts Institute of Technology (the “BPC/MIT Report”)

found that, on average, Black and Latinx voters waited longer to vote in the 2018

election than did white voters. The BPC/MIT Report showed that wait times in one

Georgia county were the longest of the over 3,000 polling places surveyed

nationwide.

        The BPC/MIT Report is the sort of evidence on which experts rely. It is

credible because it analyzed a robust, nationwide dataset and was a bipartisan

effort backed by MIT. Plaintiffs obtained the underlying Fulton County data used

in the BPC/MIT Report and provided it to Stephen C. Graves, Ph.D., an MIT

professor for over four decades, to evaluate. Dr. Graves independently examined

the Fulton County data and confirmed the BPC/MIT Report’s findings were

accurately stated for Fulton County. (ECF No. 166). Dr. Graves found the Fulton

County dataset was consistent with the BPC/MIT Report’s finding that average

wait times grow as the percentage of Black voters in a precinct increases.

                                            1
    Case 1:18-cv-05391-SCJ        Document 443-1    Filed 06/29/20   Page 7 of 31




         Enter Defendants’ expert, Sean P. Trende, the subject of this motion. Mr.

Trende is Defendants’ rebuttal expert to Dr. Graves. Mr. Trende does not have a

Ph.D., but is working on obtaining one soon. Nor is Mr. Trende a professor. He is a

former lawyer, now a political commentator for a right-leaning media company.

Mr. Trende’s opinions and testimony should be excluded. First, Mr. Trende is not

qualified to opine as a rebuttal expert on Dr. Graves’ study design and conclusions.

Second, Mr. Trende has not applied the correct methodology to the problem at

hand. Third, Mr. Trende’s opinions are irrelevant because they are not a rebuttal of

any opinion that Dr. Graves offers.

   II.      FACTUAL BACKGROUND

         A. Long Lines Have A Disparate Impact on Black Georgians.
         Defendants’ failures in Georgia elections, shown most recently on June 9,

2020, have resulted in long lines to vote. Those long lines disproportionately affect

voters of color. See Am. Compl. for Declaratory & Injunctive Relief ¶ 130, ECF

No. 41. One particularly helpful study in demonstrating the impact on voters of

color is the November 2019 BPC/MIT Report, which compiled data from 3,119

individual polling places across the country to measure wait times at the polls

during the 2018 midterms. See Expert Report of Stephen C. Graves (the “Graves

Report”) Attach. (BPC/MIT Report) at 1, ECF No. 166 at 12. It concluded that




                                           2
    Case 1:18-cv-05391-SCJ      Document 443-1      Filed 06/29/20    Page 8 of 31




Black and Latinx voters wait longer, on average, to vote than whites. Graves

Report Attach. (BPC/MIT Report) at 4, ECF No. 166 at 15.

      This result is not surprising: statistical correlations between a voter’s race

and the wait time to vote have consistently confirmed anecdotal observations that

Black and Latinx voters are more likely than whites to endure long lines to vote.

See, e.g., 2018 CCES Common Content Dataset, Harvard.edu CCES (2018),

https://dataverse.harvard.edu/dataset.xhtml?persistentId=doi%3A10.7910/DVN/ZS

BZ7K. What makes the BPC/MIT Report unique, however, is that prior statistical

analyses of race and wait times have relied on public opinion surveys that are

susceptible to several limitations. The BPC/MIT Report, in contrast, used direct

observational data from over 3,000 polling locations to track the length of lines.

Using this data, the BPC/MIT Report found:

      Consistent with past studies, the more voters in a precinct who are
      non-white, the longer the wait times. In precincts with 10% or less
      non-white voters, the average wait time was 5.1 minutes, the median
      was 3.6. In precincts with 90% or more non-white voters, the average
      and median climb to 32.4 and 13.3 minutes, respectively.

Graves Report Attach. (BPC/MIT Report) at 21, ECF No. 166 at 29. Of particular

relevance to this case, the BPC/MIT Report found that lines disproportionately

affected voters of color and included direct observation data from Fulton County,




                                          3
    Case 1:18-cv-05391-SCJ      Document 443-1      Filed 06/29/20   Page 9 of 31




Georgia, which showed Georgia had the longest lines of any jurisdiction in the

study. Graves Report 1, ECF No. 166 at 3.1

      B. Dr. Graves Verified and Confirmed the BPC/MIT Report.
      Because the BPC/MIT Report used a large, national dataset to obtain its

results, Plaintiffs wanted to ensure that nothing unique about Georgia causes it to

buck the larger national trend of Black voters spending more time in lines. To do

so, Plaintiffs obtained from Fulton County the same underlying data the County

had provided to BPC/MIT and then provided that data to Dr. Graves.

Dr. Graves is the Abraham J. Siegel Professor of Management at MIT Sloan

School of Management and has forty-three years of experience analyzing operation

management problems, including how to minimize lines in service operations.

Graves Report Attach. (Curriculum Vitae (“CV”) of Stephen C. Graves), ECF No.

166 at 52. He testified that “I'm primarily interested in the study of operations in

terms of design, planning, improvement of operations, and that can be in the

context of manufacturing systems, service systems, distribution systems, logistics

systems.” Graves Dep. 11:18-23 (excerpts attached as Exhibit 2). He has also

published a slew of peer-reviewed works. Id.




1
  The reference in Dr. Graves’ report to “Georgia” is a reference to Fulton County
in particular, as Fulton County was the only county in Georgia to submit data for
the BPC/MIT Report.
                                           4
    Case 1:18-cv-05391-SCJ      Document 443-1     Filed 06/29/20   Page 10 of 31




      Dr. Graves independently verified the Fulton County data, confirmed the

BPC/MIT Report’s findings are accurately stated for Fulton County, and found the

Fulton County dataset to be consistent with the BPC/MIT Report’s conclusion that

average voter wait time grows as the percentage of Black voters in a precinct

increases. Dr. Graves’ initial report did not seek to address whether the Fulton

County subset of the larger national dataset could, by itself, demonstrate a

statistically significant relationship between the percentage of Black voters and the

wait time at a polling site. Resp. Pls.’ Expert Stephen C. Graves to Expert Report

Defs.’ Expert Sean P. Trende (“Graves Resp.”) 1, ECF No. 208.

      C. Mr. Sean Trende’s “Opinions” Do Not Address the Issues.
      Defendants have tendered Mr. Trende as a rebuttal expert to Dr. Graves.

Calling Mr. Trende a “rebuttal” expert is a misnomer, however, because the

essence of his opinion is that the Fulton County data Dr. Graves examined do not

demonstrate a statistically significant relationship between wait times and the share

of Black registered voters in any given precinct. Dr. Graves never asserted that he

found any such relationship, however. Dr. Graves was examining the Fulton

County data to see if the data supported the BPC/MIT Report’s findings.

   III.   LEGAL STANDARD

      Federal Rule of Evidence 702 “allows a qualified expert to give opinion

testimony when it is necessary to help the trier of fact understand the issues, the


                                          5
    Case 1:18-cv-05391-SCJ      Document 443-1      Filed 06/29/20    Page 11 of 31




opinion is based on sufficient facts or data, it was produced using reliable

principles and methods, and those principles and methods were reliably applied to

the facts of the case.” Coggon v. Fry’s Elecs., Inc., No. 1:17-CV-03189, 2019 WL

2137465 (N.D. Ga. Feb. 6, 2019); see Fed. R. Evid. 702. The trial judge serves as

the “gatekeeper,” ensuring that “speculative, unreliable expert testimony” is not

admitted. Daubert v. Merrell Dow Pharms., Inc., 509 U.S. 579, 589 (1993);

McCorvey v. Baxter Healthcare Corp., 298 F.3d 1253, 1256 (11th Cir. 2002).

      To protect against misleading expert testimony, the Eleventh Circuit Court

of Appeals requires a three-part inquiry for admissibility: (1) the expert must be

qualified to testify on the matter addressed; (2) the expert’s conclusions must be

supported by reliable methodologies; and (3) the testimony must assist the trier of

fact through applying scientific, technical, or specialized expertise. Allison v.

McGhan Med. Corp., 184 F.3d 1300, 1309 (11th Cir. 1999). The burden of

satisfying this inquiry rests with the party offering the expert. Id. at 1306.

   IV.    ARGUMENT

      This Court should exclude the testimony of Mr. Trende for three reasons:

First, Mr. Trende is not qualified to engage in peer review of Dr. Graves’

methodology. Second, Mr. Trende’s analysis is not the product of reliable

principles and methods. Third, Mr. Trende’s analysis will not be helpful to this




                                           6
    Case 1:18-cv-05391-SCJ     Document 443-1      Filed 06/29/20   Page 12 of 31




Court as trier of fact, both because it attempts to disprove a claim Dr. Graves never

made and answers a question of no import.

      A. This Court Should Exclude Mr. Trende’s Testimony Because He Is
         Not Qualified to Rebut Dr. Graves’ Research Methodology.
      A trial court must ensure an “expert’s” experience provides an appropriate

foundation for asserting expert opinions. United States v. Frazier, 387 F.3d 1244,

1262 (11th Cir. 2004). “The burden of establishing qualification[s], reliability, and

helpfulness rests on the proponent of the expert opinion.” Id. at 1260. An expert

whose testimony does not “stay within reasonable confines of [her] subject area”

should be disqualified. Trilink Saw Chain, LLC v. Blount, Inc., 583 F. Supp. 2d

1293, 1304 (N.D. Ga. 2008) (internal citations omitted) (disqualifying expert who,

though qualified in testing procedures, instead testified on consumer surveys and

market research). Here, Defendants cannot show that Mr. Trende is qualified to

comment on Dr. Graves’ analysis.

      Mr. Trende is working on, but has not completed, his Ph.D. and is not a

professor. As Mr. Trende himself states, “I wouldn’t call myself a political

scientist” “[b]ecause I’m not a political science professor.” Trende Dep. 22:8-9

(complete deposition attached as Exhibit. 1). Besides being a student, Mr. Trende

writes political commentary for RealClear Media, a right-leaning media company.

ECF No. 195-1 (CV of Sean P. Trende). Mr. Trende also had a relatively brief

career as a lawyer. Id.
                                          7
       Case 1:18-cv-05391-SCJ   Document 443-1     Filed 06/29/20   Page 13 of 31




         Mr. Trende has never generated or reviewed academic research. He has

never been asked to peer review the work of others, perhaps because he himself

has never had a peer-reviewed publication or even developed a hypothesis for peer

review. Trende Dep. 21:18-24. One full page of Mr. Trende’s three-page CV is

blank other than to cite to his work writing political commentary for

RealClearPolitics. ECF No. 195-1 at 3. The “Publications from Last 10 Years”

section of his CV lists only three pieces of commentary published in two

conservative news magazines, National Review and The Weekly Standard, and an

article on franchise law he co-authored while a practicing attorney. Id. at 4. Mr.

Trende has also authored portions of a few political books, such as a chapter for

the book “Trumped.” Id. at 1.

         Simply put, Mr. Trende is an aspiring academic who has never designed a

research question suitable for peer review and academic publication and has no

experience reviewing the research design of others and assessing their

methodology. 2 He may well achieve that status and experience, but he is not there

yet.



2
  Plaintiffs are not arguing that an expert witness must always have a Ph.D., hold a
tenure-track professorship, or have a certain number of peer-reviewed studies. But
here, where Mr. Trende is offered to rebut the research methodology of a
prominent professor, Mr. Trende should be experienced in peer reviewing such
methodology. Cf. Council on Science Editors, White Paper on Publication Ethics,
2.32 (2012) (imposing an ethical obligation on peer reviewers to make clear the
                                            8
    Case 1:18-cv-05391-SCJ      Document 443-1     Filed 06/29/20    Page 14 of 31




      Mr. Trende’s qualifications stand in sharp contrast to those of Dr. Adrienne

Jones, whom Defendants have sought to exclude “at this early point in her career.”

ECF No. 386, 9. Dr. Jones does have an M.Phil. and Ph.D. in Political Science and

has taught political science for seventeen years. Id. at 7, 9. Defendants request Dr.

Jones’ exclusion contending that she has too few peer-reviewed papers, id. at 9,

(Mr. Trende has none) and, unlike Dr. Jones, Mr. Trende intends in this case to

engage in peer review of a Professor’s research methodology. The only possible

theory Defendants can advance that Mr. Trende is not demonstrably less qualified

than Dr. Jones is that he has testified as an expert. But the argument that prior

expert testimony is itself qualifying is one the Fourth Circuit has correctly labelled

“absurd.” See Thomas J. Kline, Inc. v. Lorillard, Inc., 878 F.2d 791, 800 (4th Cir.

1989).Mr. Trende’s experience writing for a right-leaning media company does not

establish expertise.

      The closest Mr. Trende comes to having expertise relevant is that he

regularly pens election-related online content for RealClearPolitics, a right-leaning

political site owned by RealClear Media. 3 RealClearPolitics is best known for




limitations of their experience to the editor offering the assignment and to refuse if
they do not have adequate experience to provide an authoritative assessment.).
3
  See RealClear, http://www.realclearmediagroup.com/about/ (last visited June 20,
2020).
                                          9
    Case 1:18-cv-05391-SCJ      Document 443-1     Filed 06/29/20   Page 15 of 31




polling data aggregation,4 and Mr. Trende’s work on that site consists largely of

averaging and reporting on poll results and using those poll results to rate the

competitiveness of various political races around the country. Trende Dep. 43:10-

25. He has also been described as the “right hand man” of RealClear Media’s co-

founder, John McIntyre. Trende Dep. 47:23-25.

      Although RealClearPolitics purports to “present balanced and non-partisan

analysis,” its claim to being “balanced” is that it operates as a news aggregator,

alternating “liberal” and “conservative” takes. 5 But even a cursory review of the

site’s material shows the site’s editors use this “balance” to alternate mainstream

and uncontroversial center-left commentary with far-right commentary, often

written by RealClearPolitics’ own staff or published by affiliated media holdings.

      For example, on June 17, 2020, RealClearPolitics was running a “left of

center” article from The Atlantic pointing out that police-provoking confrontations

with protesters is often counterproductive, along with a “balancing” article by a

RealClearPolitics contributing writer asserting that Democrats’ inadequate support

for school vouchers will turn the United States into a third-world nation. 6 The day


4
  See id.
5
  About RealClearPolitics, https://www.realclearpolitics.com/about.html (last
visited June 18, 2020).
6
  Compare Daniel J. Myers, Getting ‘Tough’ on Protests is Counterproductive, The
Atlantic (June 17, 2020),
https://www.theatlantic.com/ideas/archive/2020/06/getting-tough-protests-
                                        10
    Case 1:18-cv-05391-SCJ     Document 443-1         Filed 06/29/20   Page 16 of 31




before, RealClearPolitics “balanced” an article by CNN Host Van Jones stating

that it was heartening that more white Americans are now recognizing the

existence of racism with an article from The Federalist proclaiming the cause of

recent riots is that the Common Core education standards emphasize slavery as a

shameful part of American history. 7

      Mr. Trende’s efforts with RealClearPolitics do not qualify him to critique

academic research design. Mr. Trende describes the work as often mechanical. For

example, Trende explains that to the extent RealClearPolitics engages in statistical

meta-analyses, all it is doing is taking the average of polling data. Trende Dep.

43:20-44:3. Likewise, when Mr. Trende categorizes the competitiveness of a

gubernatorial race, he typically uses predefined cutoffs based on polling data to

define whether a race is a toss-up. Id. 46:16-47:1.

      Mr. Trende’s other possible claim to expertise is that he has been retained as

an expert in other cases relating to elections. Those engagements do not mean he is



counterproductive/613090/, with Steve Cortes, America’s Choice: Chicago or
Maga Country, RealClear Politics Commentary (June 17, 2020),
https://www.realclearpolitics.com/articles/2020/06/17/americas_choice_chicago_o
r_maga_country_143472.html.
7
  Compare Van Jones, Welcome to the ‘Great Awakening’, CNN Opinion (June 14,
2020), https://www.cnn.com/2020/06/12/opinions/great-awakening-empathy-
solidarity-george-floyd-jones/index.html, with Inez Feltscher Stepman, How Our
Anti-American Education System Made Riots Inevitable, The Federalist (June 16,
2020), https://thefederalist.com/2020/06/16/how-our-anti-american-education-
system-made-riots-inevitable/.
                                         11
    Case 1:18-cv-05391-SCJ      Document 443-1      Filed 06/29/20    Page 17 of 31




now, or ever was, properly qualified. See Kline, 878 F.2d at 800. 1989) (“[I]t

would be absurd to conclude that one can become an expert simply by

accumulating experience in testifying.”).

      Additional reasons caution against inferring much from Mr. Trende’s prior

expert work. First, although Mr. Trende has apparently been retained as an expert

in six prior lawsuits, most of those suits relate to redistricting, not to undue burdens

on the right to vote. As Mr. Trende acknowledged tacitly in his deposition, his

work has little or nothing to do with whether he is qualified to testify, other than in

the general sense that those cases benefited from an expert having a general

background in statistics. Trende Dep. 32:1-8 (opining that his prior testimony

might be relevant because there’s “a broader approach to statistics” that is “related

to all of American politics”). Second, Mr. Trende rarely was used as a testifying

expert, so the Court was not called upon to assess Mr. Trende’s qualifications.

Third, Mr. Trende mentions in his report only three cases in which he was actually

asked to testify, and in at least two of those three cases, a court excluded at least

part of Mr. Trende’s opinion. Trende Report, ECF No. 195 at 5-6.

      Given he is not qualified to give expert testimony in this case, the Court

should exclude Mr. Trende’s testimony.




                                          12
    Case 1:18-cv-05391-SCJ      Document 443-1      Filed 06/29/20   Page 18 of 31




      B. This Court Should Exclude Mr. Trende’s Opinions Because He Has
         Not Reliably Applied His Methods to This Case.

      This Court should also exclude Mr. Trende’s opinions because all three of

the tests he conducted used a methodology inappropriate for the research question

at hand.

      The essence of Mr. Trende’s rebuttal opinion is that the Fulton County data

Dr. Graves examined does not demonstrate a statistically significant relationship

between wait times and the share of Black registered voters in each precinct.8 But

Mr. Trende’s opinion is not a rebuttal of Dr. Graves because Dr. Graves never used

the Fulton County data to establish a statistically significant relationship. Mr.

Trende, by attempting to calculate the significance of that relationship, not only

misinterprets Dr. Graves’ opinion but also relies on bad methodology, painting a

misleading picture.

      The Fulton County data unambiguously shows that, on average, the

precincts reviewed had longer than average wait times as the percentage of Black

voters increased. What Mr. Trende has done is take the Fulton County data and

generate “p-values.” A p-value asks what the odds are there is no relationship




8
  Mr. Trende performed three separate calculations; a p-value for Professor Graves’
regression, a weighted-t test, and a non-parametric statistical test. Graves Resp. 3,
ECF No. 208. Because Plaintiffs’ criticism applies with equal weight to each of
Mr. Trende’s opinions, Plaintiffs will not address them separately.
                                          13
    Case 1:18-cv-05391-SCJ       Document 443-1      Filed 06/29/20   Page 19 of 31




between two things (here, wait times and share of Black registered voters). 9 Thus,

p-value is often the tool researchers use to establish statistical significance.

      In calculating a p-value for a relationship between Fulton County’s long

lines and voters’ race, Mr. Trende adopts a “null hypothesis”10 that no relationship

exists between the share of Black voters and long lines, computing a p-value of

.329. Trende Report, ECF No. 195 at 10. That p-value would suggest an

approximately one-third possibility that the longer wait times in the dataset for

Fulton County precincts with a larger share of Black voters is a product of

chance.11


9
  There is a distinction between what a particular dataset shows and what is
necessarily true of the entire population of voters. Dr. Graves’ regression analysis
shows that, of those precincts for which Fulton County collected data, precincts
with larger percentages of Black voters had longer average wait times. The Fulton
County data, then, is consistent with the findings of the BPC/MIT Report.
Calculating a statistical significance for the data is relevant only if one wants to use
the Fulton County data to draw conclusions about the entire population of voters.
Dr. Graves’ opinion is about the dataset, not the population. He is opining that
nothing in the Fulton County data suggests Fulton County behaved in a manner
differently from the entire pool of data used in the BPC/MIT Report. He thus had
no reason to calculate a p-value to reach that conclusion, a fact apparent on the face
of his linear regression.
10
   A “null hypothesis” predicts there is no significant difference between specified
populations, with any observed difference being due to sampling or experimental
error.
11
   Mr. Trende states in his report that statisticians often look for a confidence level
above 95% (which is a p-value of 5% or less) before drawing a strong conclusion.
Trende Report, ECF No. 195 at 9. That threshold is merely a matter of convention
and, more importantly, there is no relationship between the 95% confidence
interval employed by researchers and the 51% “preponderance of evidence”
                                           14
    Case 1:18-cv-05391-SCJ      Document 443-1      Filed 06/29/20    Page 20 of 31




      Mr. Trende, however, has artificially inflated his p-value calculation by

choosing an incorrect null hypothesis. The question Dr. Graves considered was

whether the Fulton County data shows a positive relationship between the share of

Black voters and wait time. Graves Resp. 2, ECF No. 208. The null hypothesis for

this question is not “there is no relationship” between the share of Black voters and

wait times, but rather “there is not a positive relationship” between share of

Black voters and wait times. Id. at 2-3 (emphasis added). Dr. Graves’ null

hypothesis posits only that Black voters do not experience longer wait times, while

Mr. Trende’s null hypothesis separately posits both that Black voters do not

experience longer wait times and that Black voters do not experience shorter wait

times, even though the latter possibility has no basis in empirics and is not

predicted by the BPC/MIT Report. Nor does Mr. Trende cite any other credible

source for his null hypothesis. This distinction is not a matter of semantics; it has

important statistical implications because it changes the appropriate method of

calculating a p-value and the level of significance of the results.




standard typically applicable in judicial proceedings. For that reason, courts
sometimes give significance to p-values that exceed 5%. See In re Abilify Products
Litig., 299 F. Supp. 3d 1291, 1314 (N.D. Fla. 2018); see also Matrixx Initiatives,
Inc. v. Siracusano, 563 U.S. 27, 44 (2011) (refusing to credit statistical
significance when assessing materiality); cf. Eastland v. Tenn. Valley Auth., 704
F.2d 613, 622 n.12 (11th Cir. 1983) (the 5% threshold is used in employment cases
because statistical significance shifts the burden of proof to the defendant).
                                          15
     Case 1:18-cv-05391-SCJ     Document 443-1      Filed 06/29/20   Page 21 of 31




       A calculation of statistical significance can be “one-tailed” or “two-tailed.”12

These “tails” refer to a bell curve having extremes on either side of its median. In

the example of wait times to vote, wait times at many polling places will cluster

around the median but some wait times will be extremely low and others will be

extremely high. This feature of probability curves means there are two tails to a

dataset, one on each side of the median.

       Whether to employ a two-tailed or one-tailed test is a matter of design study

by a professional, and depends on whether both or only one tail of the distribution

relates to the research question.13 A classic example of when a two-tailed test

would be appropriate is when a pharmaceutical company is testing whether a new

drug is more or less effective than an existing drug on the market. 14 In that

example, the appropriate null hypothesis is that “there is no difference between the

effectiveness of the two drugs,” because, for crucial practical, ethical, and

regulatory reasons, the drug company needs to know both whether the new drug is

more effective than the old drug and whether it is less effective.



 See David Kaye & David Freeman, Reference Guide on Statistics in Reference
12

Manual on Scientific Evidence 255-56 (3d ed. 2011).
13
   See id.
14
   UCLA Institute for Digital Research & Education, What are the Differences
Between One-Tailed and Two-Tailed Tests?, https://stats.idre.ucla.edu/other/mult-
pkg/faq/general/faq-what-are-the-differences-between-one-tailed-and-two-tailed-
tests/ (June 20, 2020).
                                           16
     Case 1:18-cv-05391-SCJ      Document 443-1      Filed 06/29/20   Page 22 of 31




       In contrast, an example of when a one-tailed test is the correct choice is

when a manufacturer is considering changing to a new supplier but will make the

switch only if sampling reveals the new supplier’s goods are of higher quality than

those of the existing supplier.15 Here, the appropriate null hypothesis is “the new

supplier’s goods are of no higher quality than the existing supplier’s” because the

possibility that the new supplier’s goods are of lower quality has the same research

implication as if they are of identical quality. In either case, the manufacturer will

not make the switch, so there is no methodological reason for distinguishing

between the two possibilities.16

       Which test is employed has a large impact on the calculated p-value; when

statisticians consider both tails of the distribution, they must assign half of their

significance to each end of the tail, as opposed to only one end. 17 The result is that


15
   See id.
16
   Dr. Graves offered the following way to think about the difference between two-
tailed and one-tailed tests: Suppose that a fair coin is one that lands on heads 50%
of the time and tails 50% of the time. A researcher wanting to test whether, as a
general proposition, a particular coin is fair would employ a two-tailed test because
the coin either landing on heads too much or landing on tails too much is potential
evidence of an unfair coin. Graves Dep. 47:4-51:21 (necessary excerpts attached as
Exhibit 2). In contrast, if a casino wants to test whether a particular coin favors the
house and the house wins on heads, a one-tailed test is more appropriate because
the casino is interested only in disproving a null hypothesis that the coin does not
disproportionately land on heads. Id. The relevant point is that the study design and
purpose dictate the appropriate test.
17
   UCLA Institute for Digital Research & Education, What are the Differences
Between One-Tailed and Two-Tailed Tests?, https://stats.idre.ucla.edu/other/mult-
                                           17
    Case 1:18-cv-05391-SCJ      Document 443-1      Filed 06/29/20    Page 23 of 31




where a researcher employs a two-tailed test when a one-tailed test is the sounder

choice, half of the statistical significance is erroneously erased.

      Here, Mr. Trende calculated a p-value of .329. Had he used a one-tailed test,

however, he would have calculated a p-value of .16. Graves Resp. 3, ECF No. 208.

Thus, Mr. Trende’s two-tailed test shows a one-in-three probability that the longer

wait times in the Fulton County data result from chance whereas, had he used a

one-tailed test, it would have shown a one-in-six probability the Fulton data results

from chance. Stated differently, using a two-tailed test means that relying on the

Fulton County data alone 18 establishes a 67% chance that wait times are tied to

race whereas using a one-tailed test established an 84% chance that wait times are

tied to race. Graves Resp. 4, ECF No. 208.

      As Dr. Graves lays out in his response to Mr. Trende, a one-tailed test was

the appropriate choice here for several reasons. First, Dr. Graves was seeking to

answer a specific question: Is the Fulton County data consistent with the larger

finding of the BPC/MIT Report that Black voters experience longer wait times? To

address that question, the possibilities that Black voters either face the same wait



pkg/faq/general/faq-what-are-the-differences-between-one-tailed-and-two-tailed-
tests/ (June 20, 2020).
18
   These probabilities are what can be drawn from the Fulton County data viewed
in a vacuum. Because other quantitative and qualitative evidence of disparate
impact exists, however, the actual probability that the Fulton County dataset
reflects the population is higher.
                                          18
    Case 1:18-cv-05391-SCJ      Document 443-1      Filed 06/29/20   Page 24 of 31




times as white voters or face shorter wait times as white voters are functionally

equivalent. Just as in the manufacturing example, if either hypothesis is true, the

hypothesis that Black voters face longer wait times is false. Assigning half of the

significance to the possibility that Black voters face shorter lines would be

inappropriate because that possibility has no independent research significance.

      Second, using a null hypothesis that “there is not a positive relationship”

between the share of Black voters and wait times, Graves Resp. 3, ECF No. 208, is

not the appropriate hypothesis for this litigation, because the legal question is

whether Blacks suffer disparate impacts in voting. That question makes irrelevant a

distinction between (a) Black voters facing lines no longer than white voters and

(b) Black voters facing shorter lines than white voters.

      Finally, using a one-tailed test is the correct design choice because Dr.

Graves and Mr. Trende already had available to them the BPC/MIT Report

showing that, when using the complete national dataset, Black voters faced, on

average, longer lines. They had an empirical basis for knowing, given a large

enough dataset, in what direction the relationship between Black voter registration

and wait times ran. As Dr. Graves points out, the BPC/MIT Report itself built on

prior survey results from the 2018 Cooperative Congressional Election Study

showing longer wait times for Black and Latinx voters. Graves Resp. 2, ECF No.




                                          19
    Case 1:18-cv-05391-SCJ       Document 443-1      Filed 06/29/20    Page 25 of 31




208. Because the issue to be examined is whether those broader studies are borne

out in Fulton County, Mr. Trende’s hypothesis dictates a one-tailed test.

      During his deposition, Mr. Trende’s sole defense of his use of a two-tailed

test was “because that’s typically the test you use.” Trende Dep. 64:7-12.

According to Mr. Trende, a two-tailed test is a sort of “default” approach, and thus

“it’s kind of the baseline unless you have good reason to do a one-tailed test.” Id.

His conclusory reasoning is not well-founded. “Standard textbooks on statistics

clearly state that non-directional research hypotheses should be tested using two-

tailed testing while one-tailed testing is appropriate for testing directional research

hypotheses.” Hyun-Chul Cho & Shuzo Abe, Is Two-Tailed Testing for Directional

Research Hypotheses Tests Legitimate?, 66 Journal of Business Research 1261

(2013).

      The result of Mr. Trende using the incorrect null hypothesis, and therefore

the incorrect test, is that his expert report dramatically understates the statistical

significance of the long Fulton County voting lines. Because Mr. Trende’s flawed

methodology produces an unreliable result, his opinion should be excluded.

      C. This Court Should Exclude Mr. Trende’s Opinions Because It Will
         Not Assist This Court As The Trier of Fact.
      The final reason this Court should exclude Mr. Trende’s opinions is that they

will not assist this Court as trier of fact because they do not have a “valid scientific

connection” to the disputed facts. Daubert, 509 U.S. at 592.
                                           20
    Case 1:18-cv-05391-SCJ      Document 443-1      Filed 06/29/20   Page 26 of 31




      First, the statistical significance of the relationship of the Fulton County

data, standing alone, is irrelevant. The purpose of Dr. Graves’ analysis was not to

make the claim that the Fulton County dataset constitutes statistical proof that

Black voters face longer lines. Instead, the BPC/MIT Report, along with several

predecessor reports, already provide ample evidence from which this Court can

conclude that Black voters, on average, face longer waits to vote. What Dr. Graves

has done is show that the same trend that exists in the national data appears in the

Fulton County dataset. Which is to say, there is no reason to believe the national

association between Black participation and longer lines is inapplicable in Fulton

County, the county with the longest lines in the United States. Dr. Graves’ analysis

is an important part of the evidentiary puzzle because it substantiates the

reasonable inference that Black voters in Fulton County, like those nationally, face

a burden on their right to vote. Whether the Fulton County dataset could

independently demonstrate to a particular standard of significance that Black

voters wait longer to vote is irrelevant; there is no reason to believe the national

data does not apply to Fulton County.

      Second, even if the statistical significance of Dr. Graves’ regression analysis

were in issue, Mr. Trende’s findings do not address the question relevant to this

litigation, supra pp. 12-13, and in Dr. Graves’ deposition: “My concern is that it

doesn’t strike me as being relevant, given the issue at hand is trying it understand

                                          21
    Case 1:18-cv-05391-SCJ     Document 443-1     Filed 06/29/20   Page 27 of 31




do polling locations with a majority of African American voters wait longer.”

Graves Dep. 54:21-55:1. This Court should exclude Mr. Trende’s report as

irrelevant.

                                 CONCLUSION

      Plaintiffs respectfully request the Court grant their motion to exclude Mr.

Trende’s testimony.

          CERTIFICATE OF COUNSEL REGARDING FONT SIZE

      I hereby certify that the foregoing has been prepared with a font size and

point selection (Times New Roman, 14 pt.) which is approved by the Court

pursuant to Local Rules 5.1(C) and 7.1(D).



      Respectfully submitted, this, the 29th day of June, 2020.

                                /s/ Allegra J. Lawrence
                                Allegra J. Lawrence (GA Bar No. 439797)
                                Leslie J. Bryan (GA Bar No. 091175)
                                Maia Cogen (GA Bar No. 832438)
                                Suzanne Smith Williams (GA Bar No. 526105)
                                LAWRENCE & BUNDY LLC
                                1180 West Peachtree Street
                                Suite 1650
                                Atlanta, GA 30309
                                Telephone: (404) 400-3350
                                Fax: (404) 609-2504
                                allegra.lawrence-hardy@lawrencebundy.com
                                leslie.bryan@lawrencebundy.com
                                maia.cogen@lawrencebundy.com
                                suzanne.williams@lawrencebundy.com

                                        22
Case 1:18-cv-05391-SCJ   Document 443-1   Filed 06/29/20   Page 28 of 31




                          Thomas R. Bundy (Admitted pro hac vice)
                          LAWRENCE & BUNDY LLC
                          8115 Maple Lawn Boulevard
                          Suite 350
                          Fulton, MD 20789
                          Telephone: (240) 786-4998
                          Fax: (240) 786-4501
                          thomas.bundy@lawrencebundy.com

                          Dara Lindenbaum (Admitted pro hac vice)
                          SANDLER REIFF LAMB ROSENSTEIN &
                          BIRKENSTOCK, P.C.
                          1090 Vermont Avenue, NW
                          Suite 750
                          Washington, DC 20005
                          Telephone: (202) 479-1111
                          Fax: 202-479-1115
                          lindenbaum@sandlerreiff.com

                          Elizabeth Tanis (GA Bar No. 697415)
                          John Chandler (GA Bar No. 120600)
                          957 Springdale Road, NE
                          Atlanta, GA 30306
                          Telephone: (404) 771-2275
                          beth.tanis@gmail.com
                          jachandler@gmail.com

                          Kurt G. Kastorf (GA Bar No. 315315)
                          KASTORF LAW, LLC
                          1387 Iverson St, Suite 100
                          Atlanta, GA 30307
                          Telephone: (404) 900-0330
                          kurt@kastorflaw.com




                                 23
Case 1:18-cv-05391-SCJ   Document 443-1   Filed 06/29/20   Page 29 of 31




                          Matthew G. Kaiser (Admitted pro hac vice)
                          Sarah R. Fink (Admitted pro hac vice)
                          Scott S. Bernstein (Admitted pro hac vice)
                          Norman G. Anderson (Admitted pro hac vice)
                          KAISERDILLON PLLC
                          1099 Fourteenth Street, NW
                          Eighth Floor West
                          Washington, DC 20005
                          Telephone: (202) 640-2850
                          Fax: (202) 280-1034
                          mkaiser@kaiserdillon.com
                          sfink@kaiserdillon.com
                          sbernstein@kaiserdillon.com
                          nanderson@kaiserdillion.com

                          Andrew D. Herman (Admitted pro hac vice)
                          Nina C. Gupta (Admitted pro hac vice)
                          MILLER & CHEVALIER CHARTERED
                          900 Sixteenth Street, NW
                          Washington, DC 20006
                          Telephone: (202) 626-5800
                          Fax: (202) 626-5801
                          aherman@milchev.com
                          ngupta@milchev.com

                          Kali Bracey (Admitted pro hac vice)
                          JENNER & BLOCK LLP
                          1099 New York Avenue, NW
                          Suite 900
                          Washington, DC 20001
                          Telephone: (202) 639-6000
                          Fax: (202) 639-6066
                          kbracey@jenner.com




                                 24
Case 1:18-cv-05391-SCJ   Document 443-1    Filed 06/29/20   Page 30 of 31




                          Jeremy M. Creelan (Admitted pro hac vice)
                          Elizabeth Edmondson (Admitted pro hac vice)
                          Jeremy H. Ershow (Admitted pro hac vice)
                          JENNER & BLOCK LLP
                          919 Third Avenue
                          New York, New York 10022
                          Telephone: (212) 891-1600
                          Fax: (212) 891-1699
                          jcreelan@jenner.com
                          eedmondson@jenner.com
                          jershow@jenner.com

                          Von A. DuBose
                          DUBOSE MILLER LLC
                          75 14th Street N.E., Suite 2110
                          Atlanta, GA 30309
                          Telephone: (404) 720-8111
                          Fax: (404) 921-9557
                          dubose@dubosemiller.com

                          Jonathan Diaz (Admitted pro hac vice)
                          Paul M. Smith (Admitted pro hac vice)
                          CAMPAIGN LEGAL CENTER
                          1101 14 St. NW Suite 400
                          Washington, DC 20005
                          Telephone: (202)736-2200
                          psmith@campaignlegal.org
                          jdiaz@campaignlegal.org


                          Counsel for Fair Fight Action, Inc.; Care in
                          Action, Inc.; Ebenezer Baptist Church of Atlanta,
                          Georgia, Inc.; Baconton Missionary Baptist
                          Church, Inc.; Virginia-Highland Church, Inc.; and
                          The Sixth Episcopal District, Inc.




                                  25
Case 1:18-cv-05391-SCJ   Document 443-1   Filed 06/29/20   Page 31 of 31




                                 26
